     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 1 of 18 Page ID #:1




 1   Amy Lynn Bennecoff Ginsburg (275805)
     Kimmel & Silverman, P.C.
 2
     30 East Butler Pike
 3   Ambler, PA 19002
     Telephone: 215-540-8888 x167
 4
     Facsimile: 215-540-8817
 5   teamkimmel@creditlaw.com
     Attorney for Plaintiff
 6

 7
                      UNITED STATES DISTRICT COURT
 8               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10   Michael DeLong,

11                      Plaintiff,              Case No.
12
     v.                                         Complaint Filed Under the Telephone
13                                              Consumer Protection Act, 47 U.S.C.
                                                §227 et seq. and §302.101 of the Texas
14
                                                Business and Commercial Code.
15
     Allied Vehicle Protection, Palmer Complaint and Demand for Jury Trial
16   Administrative    Services    and
17   PayLink Direct,

18                      Defendants.
19

20                                      COMPLAINT

21         Michael DeLong (“Plaintiff” or “Mr. DeLong”), by and through his
22
     attorneys, Kimmel & Silverman, P.C., alleges the following against Defendants
23
     Allied Vehicle Protection “AVP”), Palmer Administrative Services (“Palmer”) and
24

25   PayLnk Direct (“PayLink”) (collectively “Defendants”):
26

27                                            -1-
                                     PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 2 of 18 Page ID #:2




 1                                  INTRODUCTION
           1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection
 2

 3   Act (“TCPA”), 47 U.S.C. §227 and §302.101 of the Texas Business and
 4
     Commercial Code.
 5
                             JURISDICTION AND VENUE
 6         2.     This Court has subject-matter jurisdiction over the TCPA claims in
 7
     this action under 28 U.S.C. § 1331, which grants this court original jurisdiction of
 8
     all civil actions arising under the laws of the United States. See Mims v. Arrow
 9

10   Fin. Servs., LLC, 565 U.S. 368, 386-87 (2012) (confirming that 28 U.S.C. § 1331
11
     grants the United States district courts federal-question subject-matter jurisdiction
12
     to hear private civil suits under the TCPA).
13

14
           3.     This Court has supplemental jurisdiction over Plaintiff’s claims

15   asserted under Texas State Law pursuant to 28 U.S.C. § 1367.
16
           4.     This Court has personal jurisdiction over Defendants as they regularly
17
     and systemically conduct business in the State of California.
18

19         5.     Defendant AVP is headquartered in California. Defendants Palmer

20   and PayLink purposefully availed themselves to California by contracting with
21
     AVP, providing warranty services in concert with AVP and benefitting from and
22
     directing AVP to place phone calls on their behalf.
23

24         6.     Venue is proper under 28 U.S.C. §§ 1391(b)(1) and 1391(b)(2).

25

26

27                                          -2-
                                   PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 3 of 18 Page ID #:3




 1                                       PARTIES
 2
           7.    Plaintiff is a natural person residing in Arlington, Texas 76006.
 3
           8.    Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
 4

 5         9.    Defendant Allied Vehicle Protection (“AVP”) is a business entity with

 6   a principal place of business and mailing address of 7657 Winnekta Ave, #444
 7
     Winnekta, California 91306.
 8
           10.   Defendant AVP is a “person” as that term is defined by 47 U.S.C. §
 9

10   153(39).
11
           11.   Defendant Palmer is a corporation organized and existing under the
12
     laws of the State of Delaware. Palmer is licensed to do business and systemically
13

14
     and continuously conducts business in the State of California. Palmer maintains its

15   corporate offices at 3430 Sunset Avenue, Ocean, New Jersey 07712.
16
           12.   Palmer is a nationwide administrator of automotive extended
17
     protection plans to consumers, including those sold by telemarketers.
18

19         13.   Defendant Palmer is a “person” as that term is defined by 47 U.S.C. §

20   153(39).
21
           14.   Defendant Paylink is a corporation that systemically and continuously
22
     conducts business in the State of California. Palmer maintains its corporate offices
23

24   at 222 South Riverside Plaza Suite 950 Chicago, IL 60606.

25

26

27                                          -3-
                                   PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 4 of 18 Page ID #:4




 1         15.    PayLink is a nationwide financer and payment processer for
 2
     automotive extended warranty plans.
 3
           16.    Defendant PayLink is a “person” as that term is defined by 47 U.S.C.
 4

 5   § 153(39).

 6         17.    Defendants acted through their agents, employees, officers, members,
 7
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 8
     representatives, and/or insurers.
 9

10         18.    At all times relevant hereto, Defendants worked in concert.
11

12
                                FACTUAL ALLEGATIONS
13

14
           19.    At all times relevant hereto, Plaintiff, Michael DeLong maintained a

15   cell phone, the number for which was (972) XXX- 5431.
16
           20.    Plaintiff registered that cell phone number on the Federal Do Not Call
17
     Registry in or around June 2006.
18

19         21.    Mr. DeLong registered that cell phone number on the Do Not Call list

20   in order to obtain solitude from invasive and harassing telemarketing calls.
21
           22.    Defendant AVP is an automobile warranty company that sells to
22
     consumers, inter alia, extended automobile warranty plans.
23

24

25

26

27                                           -4-
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 5 of 18 Page ID #:5




 1         23.    Defendant AVP engages in telemarketing in order to solicit business
 2
     for its warranty plans and services, including plans administered by Defendant,
 3
     Palmer.
 4

 5         24.    Between December 2019 through at least February of 2021,

 6   Defendant placed a series of solicitation calls to Plaintiff in order to sell Plaintiff
 7
     an extended automobile warranty administered by Palmer.
 8
           25.    Defendants’ phone calls to Plaintiff utilized an automatically
 9

10   generated and/or pre-recorded voice.
11
           26.    DeLong did not consent to those calls from Defendants.
12
           27.    In total, Defendants placed at least 29 calls to Plaintiff, at dates/times
13

14
     including the following:

15
                               Date/Time:                      Caller ID:
16                December 5, 2019                           (972) 921-5961
                  April 11, 2020 09:43 am Central            (972) 921-5961
17
                  April 23, 2020 12:04 pm Central            (972) 645-5691
18                May 7, 2020 12:24 pm Central               (972) 645-9548
                  June 16, 2020 11:26 am Central             (732) 918-9299
19                June 17, 2020 1:14 pm Central              (732) 918-9299
                  June 18, 2020 1:38 pm Central              (877) 466-3200
20                June 22, 2020 1:15 pm Central              (877) 466-3200
                  July 13, 2020 12:03 pm Central             (833) 452-3309
21
                  July 22, 2020 1:12 pm Central              (877) 466-3200
                  August 6, 2020 12:15 pm Central            (877) 466-3200
22
                  August 11, 2020 1:12 pm Central            (877) 466-3200
23                August 21, 2020 2:45 pm Central            (877) 466-3200
                  August 25, 2020 12:10 pm Central           (732) 686-7221
24                August 25, 2020 12:10 pm Central           (732) 686-7221
                  August 31, 2020 2:16 pm Central            (877) 466-3200
25                September 2, 2020 2:21 pm Central          (732) 686-7221
                  September 2, 2020 2:21 pm Central          (732) 686-7221
26

27                                            -5-
                                     PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 6 of 18 Page ID #:6




 1               September 10, 2020 11:35 am Central        (877) 466-3200
                 September 10, 2020 4:27 pm Central         (732) 686-7221
 2               September 10, 2020 4:28 pm Central         (732) 686-7221
                 September 14, 2020 1:04 pm Central         (877) 466-3200
 3
                 September 15, 2020 11:51 am Central        (732) 686-7221
 4               September 15, 2020 11:51 am Central        (732) 686-7221
                 September 23, 2020 12:00 pm Central        (732) 686-7221
 5               September 23, 2020 12:00 pm Central        (732) 686-7221
                 September 24, 2020 2:55 pm Central         (877) 466-3200
 6               September 30, 2020 10:40 am Central        (877) 466-3200
                 February 19, 2021                          (469) 214-4846
 7
           28.    Upon information and belief, Plaintiff received additional calls from
 8

 9   Defendants not included in the above-list.

10         29.    Many of the calls placed by AVP to DeLong began with an automated
11
     voice setting forth a menu of options after DeLong answered a call.
12
           30.    For instance, in a call placed by AVP on December 5, 2019, when
13

14   Plaintiff answered the call he heard an automated voice utilized by AVP. That

15   automated voice presented the following menu of options “ this is the last courtesy
16
     call before we close out your file, press ‘2’ to be removed and put on our do not
17
     call list, press ‘1’ to speak to someone about possibly extending or reinstating your
18

19   car’s warranty, again press ‘1’ to speak with a warranty specialist.”
20
           31.    After a selection was made from the menu presented by the pre-
21
     recorded voice, if Plaintiff pressed a key to speak with a live person, the call would
22

23
     then be transferred to an agent of Defendant AVP.

24

25

26

27                                           -6-
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 7 of 18 Page ID #:7




 1         32.     As a result of the persistence of the unwanted solicitation calls, Mr.
 2
     DeLong tried to glean the identity of the company calling him. Plaintiff thereby
 3
     asked on various occasions who was calling but those efforts were unsuccessful.
 4

 5         33.     AVP’s representatives refused to disclose the identity of the company

 6   placing the calls or the sellers on whose behalf it was making the calls, despite the
 7
     obligation to make such a disclosure under the TCPA and Texas Business and
 8
     Commerce Code.
 9

10         34.     Accordingly, for the purpose of ascertaining the identity of the calling
11
     party/parties (which was improperly withheld from Plaintiff), on or around May 7,
12
     2020, Plaintiff agreed to purchase a warranty from Defendants. Only then did Mr.
13

14
     DeLong learn the identity of the warranty companies that had been placing

15   incessant calls.
16
           35.     Specifically, Plaintiff received in the mail an “Allied Vehicle
17
     Protection Powertrain Enhanced Warranty” administered by Palmer Administrative
18

19   Services, Inc” with payments to be made via PayLink. (Ex. A, cover letter and

20   excerpts of policy.)
21
           36.     Defendants sent the paperwork with a return address in Winnetka,
22
     California.
23

24         37.     Shortly after receiving the warranty (which was purchased for

25   investigative purposes only), Plaintiff terminated the contract with Defendants.
26

27                                           -7-
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 8 of 18 Page ID #:8




 1         38.       Upon cancellation of the contract, Defendant PayLink sent to plaintiff
 2
     a letter confirming that the warranty was cancelled but falsely claimed that the
 3
     cancellation was due to non-payment by Plaintiff, rather than Plaintiff’s affirmative
 4

 5   cancellation of the policy. (Ex. B, letter from PayLink.)

 6         39.       After termination of said contract, Defendant continued to place calls
 7
     to Plaintiff about the warranty and demanding payment on behalf of Defendants.
 8
           40.       Upon information and belief, those calls were made specifically at the
 9

10   direction and for the benefit of PayLink as the payment processer for the warranty.
11
           41.       In addition to terminating the contract and registering the number on
12
     the Do Not Call registry, Plaintiff told Defendants’ live agents to stop calling on
13

14
     numerous occasions.

15         42.       Defendant’s agents/representatives repeatedly apologized for the calls
16
     but advised that the calls could not stop because they were made by an
17
     “autodialer”.
18

19         43.       Despite the foregoing demand for the calls to cease, Defendants

20   continued making harassing calls.
21
           44.       The unlawful calls continued through February 2021.
22
           45.       As a result of the foregoing, Plaintiff experienced frustration,
23

24   annoyance, irritation and a sense that his privacy had been invaded by Defendant.

25

26

27                                             -8-
                                      PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 9 of 18 Page ID #:9




 1         46.    The foregoing acts and omissions were in violation of the TCPA and
 2
     Texas Business and Commercial Code.
 3

 4

 5                                PRAYER FOR RELIEF

 6
                                Direct and Vicarious Liability
 7

 8         47.    To the extent Defendants Palmer and PayLink outsourced their illegal

 9   robocalling to AVP, Palmer and PayLik are still liable for calls that violate the
10
     TCPA.
11
           48.    On May 9, 2013, the FCC determined that this was not a basis for
12

13   avoiding liability within a Declaratory Ruling that held that sellers may not avoid
14
     liability by outsourcing telemarketing:
15
                  [A]llowing the seller to avoid potential liability by
16                outsourcing its telemarketing activities to unsupervised
17
                  third parties would leave consumers in many cases
                  without an effective remedy for telemarketing
18                intrusions. This would particularly be so if the
                  telemarketers were judgment proof, unidentifiable, or
19
                  located outside of the United States, as is often the case.
20                Even where third-party telemarketers are identifiable,
                  solvent, and amenable to judgment limiting liability to
21                the telemarketer that physically places the call would
22                make enforcement in many cases substantially more
                  expensive and less efficient, since consumers (or law
23                enforcement agencies) would be required to sue each
                  marketer separately in order to obtain relief. As the FTC
24
                  noted, because “[s]ellers may have thousands of
25                “independent” marketers, suing one or a few of them is
26

27                                           -9-
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 10 of 18 Page ID #:10




 1                unlikely to make a substantive difference for consumer
                  privacy.
 2

 3   May 2013 FCC Ruling, 28 FCC Rcd at 6588 (internal citations omitted).
 4
           49.    Moreover, the May 2013 FCC Ruling rejected a narrow view of TCPA
 5
     liability, including the assertion that a seller’s liability requires a finding of formal
 6

 7
     actual agency and immediate direction and control over third parties who place a

 8   telemarketing call. Id. at 6587 n. 107.
 9
           50.    The evidence of circumstances pointing to apparent authority on behalf
10
     of the telemarketer “should be sufficient to place upon the seller the burden of
11

12   demonstrating that a reasonable consumer would not sensibly assume that the

13   telemarketer was acting as the seller’s authorized agent.” Id. at 6593.
14
           51.    Defendants Palmer and PayLink hired, permitted, and enjoyed the
15
     benefits of AVP’s mass robocalling.
16

17         52.    Defendants Palmer and PayLink acted as principals to AVP, who acted
18   as their agent.
19
           53.    Defendants Palmer and PayLink are not permitted under the law to
20
     outsource and contract their way out of liability by directing and benefitting from
21

22   AVP’s unlawful calls.
23
           54.    For the counts identified below, Defendant AVP is directly liable as
24
     the party that caused the unlawful calls to be placed.
25

26

27                                           - 10 -
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 11 of 18 Page ID #:11




 1         55.     For the counts identified below, Defendants Palmer and PayLink are
 2
     vicariously liable for the unlawful calls, as they contracted with AVP, benefitted
 3
     from AVP’s unlawful calls and directed AVP’s violative conduct.
 4

 5

 6
                                  COUNT I
 7               DEFENDANTS VIOLATED THE TCPA 47 U.S.C. § 227(b)
 8
           56.     Plaintiff incorporates the forgoing paragraphs as though the same
 9
     were set forth at length herein.
10

11         57.     The TCPA prohibits placing calls using an automatic telephone

12   dialing system or automatically generated or prerecorded voice to a cellular
13
     telephone except where the caller has the prior express consent of the called party
14
     to make such calls or where the call is made for emergency purposes. 47 U.S.C. §
15

16   227(b)(1)(A)(iii).

17         58.     Defendants placed calls to Plaintiff which utilized an automatically
18
     generated or pre-recorded voice.
19
           59.     Upon information and belief, Defendants maintain a stored list of 10
20

21   digit telephone numbers of consumers in its database for collection and
22
     communication purposes.
23

24

25

26

27                                           - 11 -
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 12 of 18 Page ID #:12




 1         60.    Upon information and belief, Defendants utilized a “predictive dialing
 2
     system” which interfaces with software and databases which have the capacity to
 3
     generate numbers randomly or sequentially.
 4

 5         61.    The dialing system used by Defendants to call phone numbers stored
 6
     in those databases.
 7

 8         62.    Accordingly, Defendants’ dialing systems have the capacity to dial

 9   numbers using a random or sequential number generator.
10
           63.    Defendants initiated multiple telephone calls to Plaintiff’s cellular
11

12   telephone number using an automatic telephone dialing system.
13         64.    Defendants conceded so much when its agent(s) acknowledged they
14
     could not stop the calls because the calls were placed by an “autodialer”.
15
           65.    Defendants’ calls were not made for “emergency purposes.”
16

17         66.    Defendants’ calls to Plaintiff’s cellular telephone without any prior
18
     express consent.
19
           67.    Defendants contacted Plaintiff despite the fact that Plaintiff has been
20

21
     on the Do Not Call Registry since 2006.

22         68.    Furthermore, Plaintiff told Defendants to stop calling on numerous
23
     occasions to no avail.
24

25

26

27                                          - 12 -
                                   PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 13 of 18 Page ID #:13




 1         69.    Defendants’ acts as described above were done with malicious,
 2
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
 3
     under the law and with the purpose of harassing Plaintiff.
 4

 5         70.    The acts and/or omissions of Defendants were done unfairly,

 6   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 7
     lawful right, legal defense, legal justification or legal excuse.
 8
           71.    As a result of the above violations of the TCPA and Texas Business &
 9

10   Commerce Code, Plaintiff has suffered the losses and damages as set forth above
11
     entitling Plaintiff to an award of statutory, actual and trebles damages.
12

13

14
                                 COUNT II
                 DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(c)
15
           72.    Plaintiff incorporates the forgoing paragraphs as though the same
16

17   were set forth at length herein.
18         73.    The TCPA prohibits any person or entity of initiating any telephone
19
     solicitation to a residential telephone subscriber who has registered his or his
20
     telephone number on the National Do-Not-Call Registry of persons who do not
21

22   wish to receive telephone solicitations that is maintained by the Federal
23
     Government. 47 U.S.C. § 227(c).
24
           74.    Defendants contacted Plaintiff despite the fact that Plaintiff has been
25

26
     on the Do Not Call Registry since 2006.

27                                            - 13 -
                                     PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 14 of 18 Page ID #:14




 1         75.    Defendants’ acts as described above were done with malicious,
 2
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
 3
     under the law and with the purpose of harassing Plaintiff.
 4

 5         76.    The acts and/or omissions of Defendants were done unfairly,

 6   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 7
     lawful right, legal defense, legal justification or legal excuse.
 8
           77.    As a result of the above violations of the TCPA, Plaintiff has suffered
 9

10   the losses and damages as set forth above entitling Plaintiff to an award of
11
     statutory, actual and trebles damages.
12
                                 COUNT III
13                    DEFENDANT VIOLATED § 302.101 OF
14
                 THE TEXAS BUSINESS AND COMMERICAL CODE

15         78.    Plaintiff incorporates the forgoing paragraphs as though the same
16
     were set forth at length herein.
17
           79.    Plaintiff is a “consumer” as defined by § 301.001(2) of the Texas
18

19   Business & Commerce Code.

20         80.    Defendants are “telephone solicitors” as defined by § 301.001(5)) of
21
     the Texas Business & Commerce Code.
22
           81.    §302.101 of the Texas Business & Commerce Code prohibits sellers
23

24   from engaging in telephone solicitation from a location in this state or to a

25   purchaser located in this state unless the seller obtains a registration certificate
26

27                                            - 14 -
                                     PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 15 of 18 Page ID #:15




 1   from the Office of the Secretary of State for the business location from which the
 2
     solicitation is made.
 3
           82.    Defendants violated § 302.101 of the Texas Business & Commercial
 4

 5   Code when their representatives engaged in continuous and repetitive telephone

 6   solicitation of Plaintiff without obtaining a registration certificate from the Office
 7
     of the Secretary of State.
 8
           83.    §302.302(a) of the Texas Business & Commerce Code provides that a
 9

10   person who violates this chapter is subject to a civil penalty of no more than
11
     $5,000 for each violation. Furthermore, §302.302(d) provides that the party
12
     bringing the action is also entitled to recover all reasonable cost of prosecuting the
13

14
     action, including court costs and investigation costs, deposition expenses, witness

15   fees, and attorney fees.
16
                                 COUNT IV
17                    DEFENDANT VIOLATED § 301.051 OF
                 THE TEXAS BUSINESS AND COMMERICAL CODE
18

19         84.    Plaintiff incorporates the forgoing paragraphs as though the same

20   were set forth at length herein.
21
           85.    Plaintiff is a “consumer” as defined by § 301.001(2) of the Texas
22
     Business & Commerce Code.
23

24         86.    Defendants are “telephone solicitors” as defined by § 301.001(5)) of

25   the Texas Business & Commerce Code.
26

27                                           - 15 -
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 16 of 18 Page ID #:16




 1          87.    Section 301.051 of the Texas Business & Commerce Code provides
 2
     that “) A telephone solicitor may not make a consumer telephone call to a
 3
     consumer unless: (1) the telephone solicitor, immediately after making contact
 4

 5   with the consumer to whom the call is made, identifies: (A) himself or herself by

 6   name; (B) the business on whose behalf the telephone solicitor is calling; and (C)
 7
     the purpose of the call;
 8
            88.    Defendants violated that provision when they refused to disclose the
 9

10   identity of the business repeatedly called Plaintiff attempting to sell warranty plans
11
     for Plaintiff’s vehicle.
12
            89.    §302.302(a) of the Texas Business & Commerce Code provides that a
13

14
     person who violates this chapter is subject to a civil penalty of no more than

15   $5,000 for each violation. Furthermore, §302.302(d) provides that the party
16
     bringing the action is also entitled to recover all reasonable cost of prosecuting the
17
     action, including court costs and investigation costs, deposition expenses, witness
18

19   fees, and attorney fees.

20

21
            Wherefore, Plaintiff, Michael DeLong, respectfully prays for judgment as
22

23   follows:

24
                   a.     All actual damages Plaintiff suffered (as provided under 47
25                        U.S.C. § 227(b)(3)(A)) and 15 U.S.C.A. § 6104(a) for damages
                          under 16 C.F.R. § 310.4(b)(1)(iii)(B) ;
26

27                                           - 16 -
                                    PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 17 of 18 Page ID #:17




 1
                  b.    Statutory damages of $500.00 per violative telephone call (as
 2
                        provided under 47 U.S.C. § 227(b)(3)(B));
 3
                  c.    Additional statutory damages of $500.00 per violative
 4
                        telephone call (as provided under 47 U.S.C. § 227(C);
 5
                  d.    Treble damages of $1,500.00 per violative telephone call (as
 6                      provided under 47 U.S.C. § 227(b)(3));
 7
                  e.    Additional treble damages of $1,500.00 per violative telephone
 8                      call (as provided under 47 U.S.C. § 227(C);
 9
                  f.    Statutory damages of $5,000 per violation (as provided under
10                      §302.302(a) of the Texas Business & Commerce Code);
11
                  g.    All reasonable attorneys’ fees, witness fees, court costs and
12                      other litigation      costs incurred by Plaintiff pursuant to
                        §302.302(a) of the Texas Business & Commerce Code;
13

14
                  h.    Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and
                        (c); and
15
                  i.    Any other relief this Honorable Court deems appropriate.
16

17

18                            DEMAND FOR JURY TRIAL
19
            Please take notice that Plaintiff, Michael DeLong, demands a jury trial in
20
     this case.
21

22

23
                                       Respectfully submitted,
24

25   Dated: July 30, 2021              By: s/ Amy L.B. Ginsburg
                                       Amy Lynn Bennecoff Ginsburg
26

27                                         - 17 -
                                  PLAINTIFF’S COMPLAINT
28
     Case 2:21-cv-06165-AB-PD Document 1 Filed 07/30/21 Page 18 of 18 Page ID #:18




 1                                   (275805)
                                     Kimmel & Silverman, P.C.
 2
                                     30 East Butler Pike
 3                                   Ambler, PA 19002
                                     Telephone: 215-540-8888 x167
 4
                                     Facsimile: 215-540-8817
 5                                   teamkimmel@creditlaw.com

 6                                   Attorneys for Plaintiff
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                                        - 18 -
                                 PLAINTIFF’S COMPLAINT
28
